                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

NATIONAL LIABILITY & FIRE                     :
INSURANCE COMPANY and BOAT                    :
OWNERS ASSOCIATION of the                     :
UNITED STATES,                                :
Plaintiffs,                                   :
                                              :
v.                                            :               C.A. No. 17-038WES
                                              :
NATHAN CARMAN,                                :
Defendant.                                    :

                             MODIFIED PROTECTIVE ORDER

       Pursuant to Fed. R. Civ. P. 26(c) this Court hereby orders that the parties and their

counsel comply with the following Protective Order.

       WHEREAS, certain documents and information have been and may be sought, produced

or exhibited by and between the parties to the above-captioned proceeding (the “Proceeding”)

and by petitioners (“the New Hampshire Plaintiffs”) in a collateral proceeding styled as Valerie

C. Santilli, individually, and as Executrix of the Estate of John Chakalos, et al., v. Nathan

Carman, et al., N.H. Cir. Ct., Probate Division, Case No. 313-2017-EQ-00396, (the “New

Hampshire Proceeding”), which may involve personal sensitive information warranting

protection;

IT IS HEREBY ORDERED THAT:

1.     This Protective Order shall govern all documents, the information therein, and all other

information produced or disclosed during the Proceeding whether revealed in a document,

deposition, other testimony, discovery response or otherwise, by any party in this Proceeding,

including the New Hampshire Plaintiffs, when same is designated in accordance with the
procedures set forth herein. This Protective Order is binding upon the parties to the Proceeding

and the New Hampshire Plaintiffs.

2.     With respect to any documents or information provided by the Defendant to the Plaintiffs

pursuant to discovery obligations set forth in Fed. R. Civ. P.26-36, the Defendant must clearly

identify and/or inform counsel for the Plaintiffs (at the time of disclosure) which information

and/or documents are “highly confidential” and private and which information and/or documents

are “confidential” and non-public. Documents and information which are not identified by

counsel for the Defendant as being either “highly confidential” or “confidential” are not subject

to this Protective Order.

3.     Documents and information identified by counsel for the Defendant as being “highly

confidential” shall be securely retained by counsel for the Plaintiffs with added protection to

ensure no access except as needed for use in connection with this Proceeding or the New

Hampshire Proceeding. Counsel for the Plaintiffs shall not disclose the documents and

information identified by counsel for the Defendant as being “highly confidential” to any person

or entity (other than legal counsel for the New Hampshire Plaintiffs), without first receiving

written consent from counsel for the Defendant.

4.     Documents and information identified by counsel for the Defendant as being “highly

confidential” shall be securely retained by counsel for the New Hampshire Plaintiffs with added

protection to ensure no access except as needed for use in connection with this Proceeding or the

New Hampshire Proceeding. Counsel for the New Hampshire Plaintiffs shall not disclose the

documents and information identified by counsel for the Defendant as being “highly

confidential” to any person or entity without first receiving written consent from counsel for the

Defendant; provided, however, that counsel for the New Hampshire Plaintiffs may disclose such



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“highly confidential” documents and information to the extent necessary at trial in the New

Hampshire Proceeding.

5.     The Plaintiffs and their legal counsel are ordered not to disclose documents and

information identified by counsel for the Defendant as being “confidential” to the general public,

to the media, and/or to any non-party to this action, with the exception of the New Hampshire

Plaintiffs and their legal counsel. Counsel for the Plaintiffs shall store documents and

information identified by counsel for the Defendant as being “confidential” using the same

degree of security used in storing counsel’s own client files. Counsel for the Plaintiffs may

disclose documents and information identified by counsel for the Defendant as being

“confidential” with the Plaintiffs, any expert witnesses employed by the Plaintiffs in connection

with this case, and with the New Hampshire Plaintiffs and their legal counsel.

6.     The New Hampshire Plaintiffs and their legal counsel are ordered not to disclose

documents and information identified by counsel for the Defendant as being “confidential” to the

general public, to the media, and/or to any non-party to this action; provided, however, that

counsel for the New Hampshire Plaintiffs may disclose such “confidential” documents and

information to the extent necessary at trial in the New Hampshire Proceeding. Counsel for the

New Hampshire Plaintiffs shall store documents and information identified by counsel for the

Defendant as being “confidential” using the same degree of security used in storing counsel’s

own client files. Counsel for the New Hampshire Plaintiffs may disclose documents and

information identified by counsel for the Defendant as being “confidential” with the New

Hampshire Plaintiffs and with any expert witnesses employed by the New Hampshire Plaintiffs

in connection with the New Hampshire Proceeding.

7.     The New Hampshire Plaintiffs shall be entitled to receive any discovery materials,

including documents, depositions, and other testimony, already produced, or to be produced by


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the parties to this Proceeding on the same terms as the parties to this Proceeding, notwithstanding

any “confidential” or “highly confidential” designation that has been applied to such materials.

8.     Nothing in this Modified Protective Oder is intended to interfere with the power, right

and duty of the New Hampshire Circuit Court – Probate Division (Concord) to manage discovery

in the New Hampshire Proceeding in its sole discretion as appropriate pursuant to applicable law.

So ordered.

/s/ Patricia A. Sullivan
PATRICIA A. SULLIVAN
United States Magistrate Judge
August 27, 2018




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